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                                                                                   FILED
                                                                       John E. Triplett, Clerk of Court
                                                                         United States District Court


                     UNITED STATES DISTRICT COURT                    By jburrell at 1:02 pm, Jun 08, 2022


                     SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION

UNITED STATES OF AMERICA                  )   INFORMATION NO.         4:22cr-82
                                          )
              v.                          )   18 U.S.C. § 287
                                          )   False, Fictitious, and Fraudulent
ROBERT LANOUE                             )   Claims
                                          )


THE UNITED STATES ATTORNEY CHARGES THAT:

                                    COUNT ONE
                     False, Fictitious, and Fraudulent Claims
                                   18 U.S.C. § 287

      At all times relevant to this Information:

      1.     Defendant ROBERT LANOUE was a resident of Georgia. He was the

manager and an owner of a scuba school and retail store operating as Scooba Shack

in Richmond Hill and Savannah, Georgia, within the Southern District of Georgia.

      2.     The United States Department of Veterans Affairs (“VA”) was a

department of the United States that provided education, health, and other benefits

to veterans of the United States Armed Forces.

      3.     The Post-9/11 GI Bill was a VA education benefit program that paid for

tuition, housing, and other costs for veterans who met certain eligibility

requirements. Under the Post-9/11 GI Bill, tuition benefits were paid directly to VA-

approved educational institutions, and housing and other costs were paid directly to

veterans enrolled in VA-approved courses of study.

      4.     Educational institutions seeking VA approval to participate in the Post-

9/11 GI Bill program had to apply to the VA and agree to comply with program rules.
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Among other things, the institutions had to agree to maintain positive attendance

records for enrolled veterans, promptly notify the VA of changes to veteran student

enrollment, and maintain compliance with the “85-15” rule, pursuant to which

educational institutions had to charge the same tuition rate to veteran students

receiving VA benefits and non-veteran students, and no more than 85% of the

enrollees in an approved course could be VA funded. Institutions also had to submit

proposed course catalogs for approval.

      5.     On or about May 5, 2018, Scooba Shack applied to the VA for approval

to provide certain courses of study to veterans through the Post-9/11 GI Bill.

      6.     On or about July 23, 2018, Scooba Shack received VA approval to

provide eight courses of study. Thereafter, Scooba Shack billed the VA between

approximately $2,488 and $20,511 per veteran student enrollee for each course.

      7.     In or around October 2021, in Chatham County, within the Southern

District of Georgia, and elsewhere, the defendant,

                                ROBERT LANOUE,

aided and abetted by others, knowingly made and presented and caused to be made

and presented to the VA a claim upon and against the United States, that is, a claim

for payment for scuba courses for veteran students, knowing that Scooba Shack was

not in compliance with the 85-15 rule and knowing that the claim was false, fictitious,

and fraudulent in that the claim falsely represented the hours of instruction received

by veteran students and dates of attendance and completion for certain students.

     All in violation of Title 18, United States Code, Sections 287 & 2.




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                                       JOSEPH BEEMSTERBOER
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